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                   EXHIBIT 1
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·1· · · · · · · · · · ·STEVEN YOUNG
·2· · · · · · · ·UNITED STATES DISTRICT COURT
·3· · · · · ·FOR THE WESTERN DISTRICT OF VIRGINIA
·4· · · · · · · · ·CHARLOTTESVILLE DIVISION
·5· ·--------------------------------- )
·6· ·ELIZABETH SINES, et al.,· · · · · )
·7· · · · · · · · · ·Plaintiffs,· · · ·)Case No.
·8· · · · · ·vs.· · · · · · · · · · · ·)3:17-cv-00072-NKM
·9· ·JASON KESSLER, et al.,· · · · · · )
10· · · · · · · · · ·Defendants.· · · ·)
11· ·--------------------------------- )
12
13
14· · · · · · · · DEPOSITION OF STEVEN YOUNG
15· · ·APPEARING REMOTELY FROM CHARLOTTESVILLE, VIRGINIA
16· · · · · · · · · · · ·JULY 15, 2020
17
18
19
20
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23
24· ·JOB NO. 180929
25· ·REPORTED BY:· Tina Alfaro, RPR, CRR, RMR


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·1· · · · · · · · · · ·STEVEN YOUNG
·2· ·unit as well as the SVU unit, and recently I got
·3· ·switched over to patrol to become a road supervisor.
·4· · · · Q.· Okay.· Can you just generally give me a
·5· ·little background about your training and
·6· ·experience, when you first began law enforcement up
·7· ·to August 12th?
·8· · · · A.· I joined the Charlottesville Police
·9· ·Department, that's the only department I've worked
10· ·for, in January of 2011.· I spent three years on
11· ·night patrol and then a year on daylight patrol, and
12· ·then I guess up until August 12th I was a detective
13· ·for about two and a half years.· During that time I
14· ·worked mostly in property units in our burglary
15· ·unit, and then I'll say about March of 2017 I got
16· ·switched over to homicide and major case unit.· I've
17· ·been to several trainings regarding investigations,
18· ·a lot of 4th Amendment training, drug interdiction
19· ·training, all sorts of different kind of training.
20· · · · Q.· Okay.· Do you have any military experience
21· ·prior to joining Charlottesville Police Department?
22· · · · A.· Four years in the Marines and then four in
23· ·the Army.
24· · · · Q.· All right.· So is the proper way to refer
25· ·to you now Corporal Young, Detective Young, or


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·1· · · · · · · · · · ·STEVEN YOUNG
·2· · · · A.· Sergeant Tony Newberry.
·3· · · · Q.· Thank you.· Sorry to interrupt.
·4· · · · A.· That's all right.
·5· · · · Q.· Go ahead.
·6· · · · A.· So by, say, you know, 12:30, 1:00
·7· ·Emancipation Park had dispersed.· We received a call
·8· ·from a man named Jack -- I'm not sure who that is or
·9· ·what his real name is, but we just knew him as
10· ·Jack -- who was the head of Kessler's security and
11· ·he was requesting that we escort him back into the
12· ·park to retrieve all of their audio equipment, like
13· ·their microphones and all that kind of stuff.
14· · · · · · So we went to Emancipation Park, it was
15· ·empty for the most part, and we looked around for --
16· ·we told him you stay put, we'll get your equipment
17· ·and we'll bring it back, that way you're not going
18· ·to rile everyone up again.· We got to the park and
19· ·there was no audio equipment to be found.· So we
20· ·were just kind of looking around in the park and I
21· ·heard on the radio that something happened on the
22· ·downtown mall.
23· · · · · · One of the captains that was in the park
24· ·suggested that we go ahead and go over there to
25· ·Market Street because there was a hit and run and


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·1· · · · · · · · · · ·STEVEN YOUNG
·2· ·someone was injured, and then we heard on the radio
·3· ·that there was a vehicle pursuit with the suspect
·4· ·vehicle.· You know, hearing this on the radio we got
·5· ·behind one of the officers that was in pursuit and
·6· ·by the time we got to the intersection of Monticello
·7· ·Road and Blenheim Avenue we parked and we realized
·8· ·that the suspect was already taken out of the
·9· ·vehicle.· I was one of the first ones to get to
10· ·Mr. Fields and I ended up arresting him.
11· · · · · · I don't know how much you want me to go
12· ·into the arrest, but...
13· · · · Q.· If I could, I would just back up a little
14· ·bit here and kind of break that down a little bit.
15· · · · · · When you heard of a vehicle pursuit, do you
16· ·have any idea of a time frame or reference between
17· ·the report of the hit and run to the end of the
18· ·vehicle pursuit?· Do you know how long that took?
19· · · · A.· So from the time I first heard of it when
20· ·the captain said, hey, something just happened on
21· ·the mall, you guys may want to go take a look, from
22· ·the time I heard that until the time I heard there
23· ·was a vehicle pursuit was less than a minute.· We
24· ·jumped in the van and we went lights and sirens, and
25· ·from the park to that intersection took maybe about


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·1· · · · · · · · · · ·STEVEN YOUNG
·2· · · · · · THE REPORTER:· Thank you.
·3· ·BY MR. CAMPBELL:
·4· · · · Q.· Okay.· And following the arrest of Fields I
·5· ·think you said you exercised some search warrants;
·6· ·is that correct?
·7· · · · A.· Correct.
·8· · · · Q.· Did you seize his phone?
·9· · · · A.· Yes.
10· · · · Q.· And did you seize anything else that was
11· ·present in the interior of the vehicle following the
12· ·arrest?
13· · · · A.· No.· We seized the vehicle, but there was
14· ·not much in the vehicle at all other than his phone
15· ·and a couple of personal belongings that were not
16· ·really relevant.
17· · · · Q.· Did you conduct any sort of deep dive or
18· ·search of his phone?
19· · · · A.· So we seized the phone, and at the time
20· ·there was a parallel investigation going on and the
21· ·FBI took possession of the phone and they conducted
22· ·a search warrant as well and they had a down- -- if
23· ·you conduct a search warrant on a cell phone you get
24· ·essentially a spreadsheet and, you know, this huge
25· ·document of what's on that phone.· The FBI did that


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·1· · · · · · · · · · ·STEVEN YOUNG
·2· ·and put it on a disk.· Because of the parallel
·3· ·investigation I had to write a search warrant to
·4· ·obtain that disk, which was actually in our police
·5· ·department.· It's kind of confusing.· So they did
·6· ·the indepth download of his phone, whereas I did the
·7· ·search warrant to get that document.
·8· · · · Q.· Okay.
·9· · · · · · And have you reviewed the contents of the
10· ·report on the phone?
11· · · · A.· Yes.
12· · · · Q.· Did you -- at any point in your
13· ·investigation were you looking for communications
14· ·Fields may have had with any other event organizer
15· ·or rally attendee?
16· · · · A.· Yes.
17· · · · Q.· Did you find any such communications?
18· · · · A.· No.
19· · · · Q.· So it also looks like the -- I mean, from,
20· ·you know, attending some and watching some of the
21· ·criminal trial there was like GPS tracking
22· ·information; is that accurate?
23· · · · A.· Correct.
24· · · · Q.· And did you review that as well, Detective?
25· · · · A.· Yes.


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·1· · · · · · · · · · ·STEVEN YOUNG
·2· · · · Q.· And are you aware of the name of any law
·3· ·enforcement officer who actually witnessed the hit
·4· ·and run incident?
·5· · · · A.· I tried to find someone, but no law
·6· ·enforcement officer that I know of actually
·7· ·witnessed the incident.
·8· · · · Q.· Okay.
·9· · · · · · And you testified earlier, I believe, that
10· ·you reviewed the phone downloaded information or
11· ·report looking for communications between Mr. Fields
12· ·and other rally attendees or organizers; is that
13· ·accurate?
14· · · · A.· Yes.
15· · · · Q.· Is it fair to say that if you found
16· ·evidence of such communication other people could
17· ·have been charged in association with Fields' hit
18· ·and run incident?
19· · · · A.· Potentially, yes.
20· · · · Q.· And no such criminal charges were ever
21· ·filed against any other rally attendee or organizer
22· ·in association with Mr. Fields' hit and run
23· ·incident; is that correct?
24· · · · A.· Correct.
25· · · · Q.· And Mr. Fields was never charged with any


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·1· · · · · · · · · · ·STEVEN YOUNG
·2· · · CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC
·3· · · · · · I, TINA M. ALFARO, Registered Professional
·4· ·Reporter, Certified Realtime Reporter, and Notary
·5· ·Public, the officer before whom the foregoing
·6· ·deposition was taken, do hereby certify that the
·7· ·foregoing transcript is a true and correct record of
·8· ·the testimony given; that said testimony was taken
·9· ·by me stenographically and thereafter reduced to
10· ·typewriting under my direction; that reading and
11· ·signing was requested; and that I am neither counsel
12· ·for, related to, nor employed by any of the parties
13· ·to this case and have no interest, financial or
14· ·otherwise, in its outcome.
15· · · · · · IN WITNESS WHEREOF, I have hereunto set my
16· ·hand and affixed my notarial seal this 21st day of
17· ·July, 2020.
18
19· ·My Commission expires October 31, 2020.
20
21· ·________________________________
22· ·NOTARY PUBLIC IN AND FOR THE
23· ·DISTRICT OF COLUMBIA
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